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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                      )
 VOTING SYSTEMS, INC., and DOMINION               )
 VOTING SYSTEMS CORPORATION,                      )
                                                  )
        Plaintiffs/Counter-Defendants,            )
                                                  )
            v.                                    )
                                                  )
 MY PILLOW, INC., and MICHAEL J.                  )
 LINDELL,                                         )
                                                  )
                                                        Case No. 1:21-cv-00445-CJN
        Defendants/Third Party Plaintiffs,        )
                                                  )
            v.                                    )
                                                  )
 SMARTMATIC USA CORP.,                            )
 SMARTMATIC INTERNATIONAL                         )
 HOLDING B.V., SGO CORPORATION                    )
 LIMITED, AND HAMILTON PLACE                      )
 STRATEGIES, LLC,                                 )
                                                  )
        Third Party Defendants.                   )

             DECLARATION OF ZACHARY B. SAVAGE IN SUPPORT OF
                   MOTION FOR ADMISSION PRO HAC VICE

       I, Zachary B. Savage, hereby declare:

       1.        My full name is Zachary B. Savage. I am a partner at the law firm of Susman

Godfrey L.L.P., counsel for Plaintiffs in the above-captioned matter.

       2.        My office address is 1301 Avenue of the Americas, 32nd Floor, New York, New

York 10019. My office telephone number is (212) 336-8330.

       3.        I am a member in good standing of the bar of the State of New York. I am also

admitted to practice in the United States District Courts for the Southern District of New York,

Eastern District of New York, Eastern District of Michigan, Western District of Texas, and the

United States Courts of Appeal for the Second and D.C. Circuits.
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       4.      I certify that there are no pending disciplinary proceedings against me or before any

bar, and that I have not been disciplined by any bar in the past.

       5.      I have been admitted pro hac vice in this Court within the last two years in Hulley

Enterprises Ltd. et al v. Russian Federation, 1:14-cv-01996-BAH on August 14, 2020.

       6.      I do not engage in the practice of law from an office located in the District of

Columbia.

       7.      I am not currently a member of the District of Columbia Bar, and I do not have an

application for membership pending.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed this 26th day of January 2022, in New York, New York.


                                                      _______________________________
                                                      Zachary B. Savage
